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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
CHRISTOPHER UNDERWOOD et al.,                      :
Individually and on Behalf of All Others Similarly :     Case No. 1:21-cv-08353(PAE)
Situated,                                          :
                                                   :
                                     Plaintiffs,   :
                                                   :
       v.                                          :
                                                   :
COINBASE GLOBAL, INC.,                             :
                                                   :
                                     Defendant.    :
------------------------------------x

                COINBASE GLOBAL, INC.’S OPPOSITION
          TO PLAINTIFFS’ MOTION BY ORDER TO SHOW CAUSE
 FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION




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                                        INTRODUCTION

       Plaintiffs are parties to existing user agreements with Coinbase1 that already contain

binding arbitration provisions with fee-shifting provisions. There is no emergency here. And even

if those portions of the dispute resolution provisions had changed substantively, at best Plaintiffs

are seeking a premature advisory opinion on an issue this Court may never have to address.

Plaintiffs’ feigned emergency application asks the Court to freeze Coinbase’s current user

agreements in place indefinitely and prevent Coinbase from communicating with millions of

customers in the normal course of business. Plaintiffs’ demand for emergency relief is even more

egregious given Coinbase’s express (and repeatedly rejected) offer to delay enforcement of any

new dispute resolution provisions in the updated User Agreement as applied in this Action while

the parties discuss stipulations to ameliorate any possible concerns Plaintiffs might have.

       Plaintiffs cannot meet their burden of showing that any possible irreparable harm, let alone

immediate irreparable harm, absent the Court’s intervention. Plaintiffs rely entirely on speculation

that if Defendant seeks to compel arbitration at some point in the future and if Plaintiffs decide to

contest that motion, then they may be subject to fee-shifting provisions as a result of the updates

to the User Agreement. Under the current schedule, none of this would be ripe for the Court’s

consideration until May, if ever. And critically, none of this is new. Plaintiffs have faced this exact

risk since filing their original complaint. And that is quintessentially an issue of money damages

that can be addressed if it ever occurs. Nothing has changed. Plaintiffs’ claim of “uncontrollable

losses” are also entirely monetary and specious. (Mot. at 11.) The only harm described is access



1
    Plaintiffs seek relief against Coinbase Global (“Global”) but the current and updated User
    Agreements is with non-party Coinbase, Inc. (“Coinbase”). (Declaration of Suellen Black Ex.
    B at 1.). Although Global is forced to respond here, it expressly reserves all rights, including
    to address the proper parties to this matter at the appropriate time.
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to Plaintiffs’ funds on Coinbase’s platform, another monetary rather than irreparable harm, and

Coinbase has expressly offered to provide that access through a link in the very customer

communication about which Plaintiffs complain. (Black Ex. C at 3; Black Ex. E at 3.)

       Plaintiffs also cannot show a likelihood of success on the merits as there is nothing false,

misleading, or intimidating about Coinbase’s regular course communications with its customers.

Haider v. Lyft, Inc., No. 20-cv-2997 (AJN), 2021 WL 3475621, at *2 (S.D.N.Y. Aug. 6, 2021) As

Judge Nathan recently explained in that case—which Plaintiffs ignore despite Coinbase alerting

them to it before this motion was filed—there is nothing improper when a company substantively

amends the terms of its updated user agreement, including via direct communication with putative

class members. Id., at *3. To find otherwise would disrupt the entire business operations of a

company. See id. (“A large corporation may face a number of lawsuits at any given time, and

prohibiting routine amendments to their terms of service would essentially freeze their contracts

in place.”). Here the “new” dispute resolution terms raised by Plaintiffs are not even new as in

Haider. The Coinbase User Agreement has long included a binding arbitration clause and a fee-

shifting provision—the same provisions at the heart of Plaintiff’s demand for emergency relief.

(Coinbase pointed this out to Plaintiffs before this Motion was filed.) And even if the terms were

new as in Haider, the updated User Agreement expressly states it will not apply retroactively.

       The only remaining issue is the narrow question of whether Coinbase’s communication

was somehow coercive. Id at *2. Even a cursory review of Coinbase’s challenged communication

shows that it was not so, and certainly not in any way false, misleading, or intimidating as this

Court would need to find. Id. Indeed, the lack of coercion is evident from the current record based

on undisputed facts: not only are Plaintiffs already subject to arbitration provisions but they

continue to have the ability to not accept the terms of the updated User Agreement. There is no



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precedent for what Plaintiffs demand: disallowing a company from conducting business in the

normal course any time it faces a frivolous class action such as this, even before an amended

complaint has been filed or a class certified.

        Plaintiffs’ sought relief would change nothing for Plaintiffs from the current status quo

with respect to this Action. But it would substantially disrupt Coinbase’s existing ability to

communicate with and set the terms under which it operates with its users, including millions of

potentially future customers based upon Plaintiffs’ wildly overbroad class definition. The balance

of harms weighs entirely against Plaintiffs’ Motion.

        Plaintiffs’ Motion is not only baseless, but an egregious use of this Court’s resources. The

Court asked the parties to consider agreeing to delay the effective date of any User Agreement

“amendments” at issue in this Motion to give the Court more time. To be explicit, that is exactly

what Global and Coinbase offered to Plaintiffs in writing in advance of their filing this Motion: to

“not enforce any new dispute resolution provisions (to the extent there are new provisions) in the

January 31, 2022 User Agreement as applied to this Action for the next 7 days” so that the parties

could negotiate stipulations to ameliorate Plaintiffs’ concerns. Plaintiffs refused, and refused again

even after the Court’s request. This refusal only reinforces what Plaintiffs really seek to achieve:

an extraordinary restraint on Coinbase’s normal business operations to advance their own litigation

interests.

        Of course, for the benefit of the Court and its resources, Coinbase stands by the offer to

delay the effective date of any new disputed terms for seven days for purposes of this Action. But

fundamentally, the Court should decline to enter an advisory opinion based on Plaintiffs’ false

claims of an emergency. Plaintiffs’ Motion should be denied in its entirety.




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                          RELEVANT FACTUAL BACKGROUND

    A. The Action

       Non-party Coinbase, a wholly-owned subsidiary of Global, operates online trading

platforms where its users can transact in certain digital assets. Like many online service providers,

Coinbase offers its services to users pursuant to a User Agreement which they accept when they

join the platform.

       On October 8, 2021, plaintiffs Christopher Underwood and Louis Oberlander (along with

Henry Rodriguez, “Plaintiffs”) filed a putative class action complaint (the “Complaint”) naming

Global, but not Coinbase, as a defendant. (ECF 1.) The Complaint purports to alleges that Global

operates as an unregistered securities exchange in violation of federal and state securities laws,

and that as a result any corresponding contracts are unlawful and should be voided. (Id. ¶¶ 2-3,

273-75.) The Complaint defines the Class Period as the beginning of any applicable limitations

period through the date of certification (id. ¶ 253), purporting to create an open-ended and

indeterminate class.2

    B. Coinbase’s User Agreements

       Unsurprisingly, Coinbase updates its terms of use in the ordinary course of business. (Black

¶ 3.) On or around January 26, 2022, Coinbase sent an email to U.S. users notifying them that an

updated User Agreement would go into effect on January 31, 2022 (the “updated User

Agreement”) (Black Ex. D.) Among other things, Coinbase specifically pointed out in the email

that it had “revised [its] arbitration agreement to streamline the process for resolving problems you




2
    On January 11, 2022, the Court appointed Underwood, Oberlander, and Henry Rodriguez
    lead plaintiffs. Pursuant to the Court’s January 25, 2022 order, the consolidated amended
    complaint is due March 11, 2022, and Global’s response is due May 10, 2022. (ECF 23.)

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may experience.” (Id. at 1.)3 The email invited users to visit a help center article if they had any

questions, and linked to that article, which also explains that if users do not want to accept the

updated User Agreement, they can submit a request to close their account and withdraw their

funds. (Black Ex. C at 3; Black Ex. E at 3.) Of course, users could also transfer their assets off the

platform, as they could at any other time.

       Although Plaintiffs portray the updated User Agreement, and particularly the arbitration

and fee-shifting provisions, as an underhanded attempt to alter the rights and remedies of Plaintiffs

in this litigation, these provisions are not new and do not change the rights and remedies

applicable to this Action. Other portions of the dispute resolution provision changed, not these.4

Section 8.3 of the current User Agreement provides:

       If we cannot resolve the dispute through the Formal Complaint Process, you and
       we agree that any dispute arising out of or relating to this Agreement or the
       Coinbase Services, including, without limitation, federal and state statutory
       claims, common law claims, and those based in contract, tort, fraud, mis-
       representation, or any other legal theory, shall be resolved through binding
       arbitration, on an individual basis . . .

(Black Ex. A § 8.3 (emphasis added).) The current User Agreement also already has a fee-shifting

provision that can be invoked if Coinbase moves to enforce the User Agreement:

       “To the extent permitted by law, the prevailing party in any action or proceeding to
       enforce this Agreement, any arbitration pursuant to this Agreement, or any small
       claims action shall be entitled to costs and attorneys’ fees.”

(Black Ex. A § 8.3; see also Black Ex. B § 8.3) Coinbase identified these existing

provisions to Plaintiffs before they filed this motion. (Flath Ex. D.) Plaintiffs did not



3
    In any event, even if Plaintiffs obtain any relief through this Motion—and they should not—
    Plaintiffs cannot seek this relief against Global, which is neither a party to the User
    Agreement nor the sender of the email.
4
    The majority of the changes to the dispute resolution provisions relate to treating similar
    customer complaints more efficiently in arbitrations.
                                                  5
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respond. And while other portions of the dispute provisions irrelevant to this Action have

changed in the new User Agreement, the provisions Plaintiffs criticize have not

substantively changed at all.


   C. Global and Coinbase Offered to Delay Enforcement of the Dispute Resolution
      Provisions in the Updated User Agreement in Order to Address Plaintiffs’ Concerns

       In their January 26, 2022 letter to Global’s counsel, Plaintiffs demanded that Coinbase “not

implement or seek to enforce” the updated User Agreement altogether. (Flath Ex. A) In an attempt

to respond to Plaintiffs’ concerns, Global’s counsel asked Lead Counsel to “identify [] the specific

provisions of the User Agreement you refer to in your Letter and the manner in which you believe

that they would purportedly ‘alter the parties’ rights and remedies in the Pending Litigation.’”

(Flath Ex. B at 2.) Three hours later, at 8:54 p.m. ET, rather than engage in a productive dialogue,

Lead Counsel insisted it would seek this temporary restraining order to prevent the updated User

Agreement from going into effect altogether unless its demands were accepted by 8 a.m. ET the

following morning. (Flath Ex. C.)

       Before 8 a.m. ET, Global’s counsel responded again, highlighting that no emergency exists,

and despite the extraordinary nature of Plaintiffs’ request, offered expressly to “agree to not

enforce any new dispute resolution provisions (to the extent there are new provisions) in the

January 31, 2022 User Agreement as applied to this Action for the next seven days so we have

time to discuss what an agreeable stipulation might be.” (Flath Ex. D .) Global’s counsel also

pointed to the existence of fee-shifting provisions in particular in the current User Agreement, as

those provisions were not new and could not possibly constitute an emergency. (Id.) Lead Counsel

proceeded with this motion. (Flath Exs. E, G.)

       Pursuant to the Court’s January 28, 2022 request that the parties attempt to give the Court

additional time to decide the Motion, counsel re-extended its offer to delay effectiveness of the
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dispute resolution provision as applied to this Action for the next seven days. Once again, Lead

Counsel rejected this proposal. (Flath Ex. H.) This offer stands, including as needed for the Court’s

benefit. (See id.)


                                            ARGUMENT

I.      STANDARD

        “A temporary restraining order, like a preliminary injunction, is an extraordinary remedy

never awarded as of right. In each case, courts must balance the competing claims of injury and

must consider the effect on each party of the granting or withholding of the requested relief.”

Litwin v. OceanFreight, Inc., 865 F. Supp. 2d 385, 391 (S.D.N.Y. 2011) (Engelmayer, J.); accord

Sussman v. Crawford, 488 F.3d 136, 139-40 (2d Cir. 2007) (an injunction is “an extraordinary and

drastic remedy, one that should not be granted unless the movant, by a clear showing, carries the

burden of persuasion.” (emphasis in original) (quoting Mazurek v. Armstrong, 520 U.S. 968, 972

(1997)); see also Grand River Enter. Six Nations, Ltd. v. Pryor, 481 F.3d 60, 66 (2d Cir. 2007)

(per curiam) (“[T]he preliminary injunction ‘is one of the most drastic tools in the arsenal of

judicial remedies.’” (citation omitted)). “[A] plaintiff seeking a temporary restraining order ‘must

establish that he is likely to succeed on the merits, that he is likely to suffer irreparable harm in the

absence of preliminary relief, that the balance of equities tips in his favor, and that an injunction

is in the public interest.’” Litwin, 865 F. Supp. 2d at 391-92. Plaintiffs have not met, and

fundamentally cannot meet, their burden to establish any of these elements here.

II.     PLAINTIFFS DO NOT AND CANNOT DEMONSTRATE IRREPARABLE
        HARM

        “A showing of irreparable harm is ‘the single most important prerequisite for the issuance

of a preliminary injunction.’” Faiveley Transp. Malmo AB v. Wabtec Corp., 559 F.3d 110, 118 (2d

Cir. 2009) (citation omitted). Plaintiffs come nowhere close for themselves, let alone for any

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putative class members. There is no irreparable harm when you are being deprived of something

you also claim is unlawful. There is no irreparable harm when, even if there were new dispute

resolution terms, the application of those terms is entirely speculative. And customers will not be

indefinitely prevented from moving their assets off the Coinbase platform.

       A. Plaintiffs Cannot Show Irreparable Harm Based on an Inability to Engage in
       Allegedly Illegal Conduct

       It is important to remember what the underlying case here is about. Plaintiffs purport to

allege that Global operates as an unregistered securities exchange. Yet in this “emergency” motion,

Plaintiffs claim that they and other putative class members will be irreparably harmed if they are

not permitted to keep trading all the while claiming this trading activity is illegal. (See ECF 1 ¶

273-76.) Plaintiffs’ underlying allegations are baseless. But Plaintiffs also cannot have it both

ways. “Plaintiff[s] cannot claim to be injured by his inability to engage in wrongful or illegal

conduct.” Hettler v. Petters, No. Civ.02–1837 ADM/SRN, 2005 WL 715933 at *2 (D. Minn. Mar.

29, 2005). If the Plaintiffs truly believe their own activity on the platform is in violation of

securities laws, they cannot now claim harm by not being able to continue to trade pursuant to it

in a transparent attempt to compound the damages they seek in this case. By law, this is not harm.




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        B. Plaintiffs Cannot Show Irreparable Harm Based on the Fee-Shifting Provision
        Because They Already Face that Risk and that Risk Is Both Speculative and Curable.

        The Motion attempts to demonstrate irreparable harm to the current Plaintiffs themselves,

who supposedly will not be able to “proceed with this action without incurring the risk that they

will be held liable for the fees accrued by Defendant’s counsel prior to the resolution of the

anticipated motion to compel arbitration.” (Mot. at 10.) This purported harm is illusory because

Plaintiffs, like all current putative class members, already face the risk of fee-shifting under the

current User Agreement. The Court does not need to address this non-existent harm further, and

should not address it as a premature advisory opinion. (Supra at 1.)

        However, even if the dispute resolution terms were new, any harm remains completely

speculative at this stage and entirely addressable at a later stage if the issue arises. First, Plaintiffs

would have to continue to use Coinbase’s platform and accept the updated User Agreement before

any new terms would apply, which they have not even stated they intend to do. But second, at this

stage, Plaintiffs can only speculate that they will face a motion to compel arbitration at all, let

alone whether Global would seek to apply any terms in the updated User Agreement to this action.

Until Global receives an amended complaint, which is not due to be filed until March, Global and

is not required to make any decisions about how it will respond to Plaintiffs’ claims procedurally

or substantively. See Jayaraj v. Scappini, 66 F.3d 36, 39 (2d Cir. 1995) (noting that irreparable

harm “must be imminent or certain, not merely speculative” and vacating preliminary injunction

based on “evidence of speculative and attenuated injuries”); see also USA Network v. Jones

Intercable, Inc., 704 F. Supp. 488, 491-93 (S.D.N.Y. 1989) (“‘[M]ere speculation that there is a

possibility that the party seeking the injunction may in some unproved way suffer loss or damage’

is insufficient[.]” (quoting Jack Kahn Music Co. v. Baldwin Piano & Organ Co., 604 F.2d 755,




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759 (2d Cir. 1979)); see also LSSi Data Corp. v. Time Warner Cable, Inc., 892 F. Supp. 2d 489,

529 (S.D.N.Y. 2012) (Engelmayer, J.).

       If Global does move to compel arbitration at the appropriate point in this case, then the

parties will have a full opportunity to debate whether any provision of any specific user agreement

is valid and enforceable. And even then, if Plaintiffs were ultimately ordered to pay attorneys’ fees

at some unspecified date in the future, that harm is not irreparable. It would only be the fees

associated with a single motion. Monetary damages are by definition reparable. See Borey v. Nat’l

Union Fire Ins. Co. of Pittsburgh, Pa., 934 F.2d 30, 34 (2d Cir. 1991) (“Monetary loss alone will

generally not amount to irreparable harm.”). Plaintiffs do not and cannot explain how any harm

stemming from the need to pay attorneys’ fees would be irreparable. Cf. Blanchard v. Tabulate,

Inc., No. 18 CIV. 8631 (ER), 2018 WL 11383043, at *2 (S.D.N.Y. Oct. 22, 2018) (denying motion

for preliminary injunction seeking payment of attorneys’ fees because the claimed harm—the

payment of attorneys’ fees—was not irreparable). And again, Plaintiffs face the same risk under

the current User Agreement. Nothing has changed.

       C. Plaintiffs Cannot Show Irreparable Harm Based on the Updated User Agreement
       Because Customers Are Free to Withdraw Their Assets and Use A Different Platform.

       Plaintiffs speculate that putative class members “will be exposed to harm through the

illusory ‘choice’ presented by the new terms.” (Mot. at 10-11.) According to Plaintiffs, customers

who decline to agree to the updated User Agreement “will be locked out of the platform, faced

with the prospect of uncontrollable losses from open positions.” (Id. at 11.). This is untrue. Any

user is free to withdraw their assets and move to another platform. In the very customer

communication Plaintiffs call unlawful in this Motion, Coinbase provided instructions to users on

how to remove their assets from the platform if they so choose.




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       Even if Plaintiffs did not want to take Coinbase at its word, however, Plaintiffs have not

bothered to test it. Plaintiffs have been on notice of the updated User Agreement since at least

January 26, 2022, but they make no showing that they have attempted to withdraw their funds and

been stymied. Convergen Energy WI, LLC v. L’Anse Warden Electric Co., LLC (Convergen I),

No. 20-CV-5240 (LJL), 2020 WL 5894079, at *5 (S.D.N.Y. Oct. 5, 2020) (“[c]onclusory

allegations lacking supporting evidence will not support a preliminary injunction”).

       Plaintiffs are not forced to use Coinbase, nor is any other putative class member. See id.

2020 WL 5894079 at *5 (“[i]f the harm complained of is self-inflicted, it does not qualify as

irreparable”); see also KDH Consulting Group LLC v. Iterative Cap. Mgmt. L.P., 2020 WL

2554382 at *7 (S.D.N.Y. May 20, 2020) (allegation that plaintiff would be diluted in post-

restructuring entity insufficient to demonstrate irreparable harm where it “[wa]s not being forced

to invest in the new entity” and could “choose instead to exit.”). If Plaintiffs prefer the terms of a

different digital asset trading platform, they are fully able to move their assets or otherwise

withdraw their assets from Coinbase without agreeing to the updated User Agreement.

       And although Plaintiffs reference the ability of the Court to exercise control over a class

action and to enter orders governing the conduct of counsel (Mot. at 5), they do not seek an order

under Rule 23 but choose instead to seek emergency injunctive relief. As Magistrate Judge Francis

has recognized expressly, although plaintiffs may “couch [an] application as a motion for

preliminary injunction,” such application can be “more accurately characterized as a request for

an order under Rule 23.” Wu v. Pearson Educ. Inc., No. 09 CIV. 6557 RJH JCF, 2011 WL

2314778, at *5 (S.D.N.Y. June 7, 2011)




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III.   PLAINTIFFS FAIL TO DEMONSTRATE A LIKELIHOOD OF SUCCESS ON
       THE MERITS

       Fundamentally, Plaintiffs cannot demonstrate a likelihood of success on the merits because

Coinbase’s communication about and update to the User Agreement are lawful. Plaintiffs are only

entitled to the relief from the common sense and general rule that companies may directly

communicate with their customers if they can show that Coinbase’s communication was somehow

false, misleading, or intimidating. Haider, 2021 WL 3475621, at *2 (“Defendants and their counsel

generally may communicate with potential class members in the ordinary course of business’

provided that their communications are not false, misleading, or intimidating.’” (quoting Manual

for Complex Litigation (Fourth) § 21.12 at 249 (2004)). The communication at issue indisputably

satisfied this standard: it was both “in the ordinary course of business” and “not false, misleading,

or intimidating.” It was routine communication about updated terms of service in no way targeted

at this lawsuit that did not meaningfully alter the rights or remedies of the parties to the lawsuit.


       A.      Coinbase’s Communication of the Forthcoming Updated User Agreement in
               the Ordinary Course of Business Was Entirely Proper

       Coinbase’s communication to its users was not, as the Motion contends, “coercive” or

“inappropriate.” (Mot. at 5.) It is well-established that “‘[d]efendants and their counsel generally

may communicate with potential class members in the ordinary course of business’ provided that

their communications are not false, misleading, or intimidating.” Haider, 2021 WL 3475621, at

*2; see also Miracle-Pond v. Shutterfly, Inc., 2020 WL 2513099, at *9 (N.D. Ill. May 15, 2020)

(rejecting plaintiff’s Rule 23(d) argument, finding “no indication that Shutterfly engaged in

improper conduct” by issuing a regular update to its terms of service). That is precisely what

happened here.




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       There is nothing in any way coercive about the communication Coinbase sent. Far from

obscuring the fact that portions of the dispute resolution provisions would be updated, Coinbase

specifically highlighted in its email that it had “revised [its] arbitration agreement to streamline

the process for resolving problems you may experience.” (Supra 4-5.) Global has disclosed this

litigation in its public filings. (Flath Ex. I (Coinbase Global, Inc. 10-Q, Q3 2021).) Indeed, as this

Court noted in its order appointing lead plaintiffs, Plaintiffs themselves have published notice of

the Action. (ECF 21 at 4, n. 2.) As explained above and below (infra II.B), the updated terms

Plaintiffs criticize—the arbitration and fee-shifting provisions—are terms that already exist. To

the extent that Plaintiffs prefer the terms of the current User Agreement, they are free to choose to

not accept the updated User Agreement. Coinbase’s communication was entirely lawful.

       Left with no ability to prove the improper nature of the communication itself, Plaintiffs

contend that this routine customer communication is somehow impermissible because they have

filed a class action such that Lead Counsel represents all putative class members and are therefore

off limits with respect to any communication “that would affect the ongoing litigation.” (Mot. at

6.) This is not the law. If Plaintiffs’ view were to be adopted, filing a putative class action would

effectively impose a de facto injunction against Coinbase ever updating its User Agreement while

such action is pending. Such a result would be fundamentally unfair to any business. See Haider,

2021 WL 3475621 at *3. (“A large corporation like Lyft may face a number of lawsuits at any

given time, and prohibiting routine amendments to their terms of service would essentially freeze

their contracts in place.”) See Shulman v. Becker & Poliakoff, LLP, No. 17CV9330VMJLC, 2018

WL 4961003, at *5 (S.D.N.Y. Oct. 15, 2018) (explaining “the Court cannot order [Defendant] to

stop speaking to its clients,” and two letters to putative class members regarding the nature of

plaintiff’s lawsuit were proper as they were neither “misleading” nor “coercive”); In re Apple Inc.



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Device Performance Litig., No. 18-MD-02827-EJD, 2018 WL 4998142, at *7 (N.D. Cal. Oct. 15,

2018) (finding “no basis” to take corrective measures from Apple’s communication to putative

class members because the communication was “not misleading, coercive, and [did] not potentially

interfere with class members’ rights.”). This concern is even more heightened here given that the

purported class period extends to an unknown, future date. Plaintiffs want to control Coinbase’s

relationship and communications even with future customers with respect to claims that have not

yet occurred. This relief would be unprecedented.

        Contrary to Plaintiffs’ contentions, a company is free to communicate with its customers

in the normal course of business, and customers are free to communicate with the company as

well. Even while Plaintiffs complain about having been contacted directly by Coinbase, they have

each affirmatively and directly reached out to Coinbase customer service since this litigation

began. (Black ¶¶ 4-6.) Mr. Rodriguez sent a request on October 22, 2021 related to his professed

concern that “Coinbase is an unregistered exchange.” (Id. ¶ 16.)

       Plaintiffs attempt to shoehorn their dispute with Coinbase’s email into a purported ethical

violation of New York Rule of Professional Conduct 4.2. But Plaintiffs ignore—yet again—that

Judge Nathan rejected a similar argument in Haider, where the plaintiffs who received the

communication were represented parties:

       The Court also disagrees that the New York Rules of Professional Conduct bar
       routine amendments to a company’s terms of service. The drivers contend that
       because Lyft’s December 2020 terms of service were drafted by an attorney,
       presenting those terms to the drivers violated the rule about attorney
       communications with represented parties. See 22 N.Y.C.R.R. § 1200, Rule 4.2(a).
       Lyft’s counsel did not communicate with the drivers about the subject of the
       litigation by drafting revisions to Lyft’s arbitration agreement. Lyft revised its
       terms of service, and the drivers, in order to continue driving for Lyft, agreed to
       these new terms. The drivers cite no authority for the proposition that an
       amendment to a company’s terms of service may constitute a prohibited
       communication with a represented party.



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Id. at *3; see also Shutterfly, 2020 WL 2513099 at *9 (finding “no indication that Shutterfly

engaged in any improper conduct: [t]here is no evidence of deceptive conduct, no evidence of

coercion, no evidence of targeting putative Class Members, no evidence of imposing arbitration

without agreement or without additional consideration.”).

       Lead Counsel’s earlier accusation that “direct contact with the Lead Plaintiffs and other

members of the putative class–all of whom we represent in the Pending Litigation. . . is improper

and a violation of applicable ethical rules” (Flath Ex. A) is yet another overreach with no basis in

the law. Putative class members are not represented parties. “A certification under Rule 23(c)

makes the Class the attorney’s client for all practical purposes.” Van Gemert v. Boeing Co., 590

F.2d 433, 440 n.15 (2d Cir. 1978), aff’d, 444 U.S. 472 (1980); accord Whitehorn v. Wolfgang’s

Steakhouse, Inc., No. 09 CIV. 1148 LBS, 2012 WL 432643, at *1 (S.D.N.Y. Feb. 8, 2012)

(“[C]lass certification gives rise to an attorney-client relationship between potential class members

and class counsel . . . .”). Thus, in a Formal Ethics Opinion interpreting Model Rule of Professional

Conduct 4.2, the American Bar Association concluded that “putative class members are not

represented parties for purposes of the Model Rules prior to certification of the class and the

expiration of the opt-out period,” such that Rule 4.2 does not apply. Contact By Counsel with

Putative Members of Class Prior to Class Certification, ABA Formal Op. 07-445 (2007).5 Given

that Plaintiffs have not yet even filed a consolidated amended complaint, any class certification

decision could be years away. And Plaintiffs’ case law is inapposite. To illustrate, Plaintiffs cite



5
    The New York City Bar Association has reached the same conclusion. See N.Y.C. Bar Ass’n
    Formal Op. 2004–01, available at https://www.nycbar.org/member-and-career-
    services/committees/reports-listing/reports/detail/formal-opinion-2004-01-lawyers-in-class-
    actions (“When the lawyer proposing to communicate represents a party opposing a class, the
    prohibition applies when the class has been certified, although it does not apply before
    certification.”).

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O’Conner v. Agilant Solutions for the proposition that “communications with putative class

members prior to certification may also implicate ethical rules.” (Mot. at 7.) Nowhere did the

Agilant court suggest that putative class members were represented parties or that defense counsel

had violated Rule 4.2.

        B.      The Updated User Agreement Does Not Substantively Alter the Rights and
                Remedies of the Parties vis-a-vis this Litigation

        In an attempt to recast Coinbase’s lawful, routine communication with its users as a

nefarious attempt to interfere with the ongoing litigation, Plaintiffs claim that Coinbase has sought

“to impose new terms of use . . . that would have the purpose and effect of directly altering the

parties’ rights and remedies in the Pending Litigation” (Flath Ex. E at 1) and “purport to apply

retroactively.” (Mot. at 1.) This is not true.

        First, Plaintiffs claim that a new change to the updated User Agreement is to require

binding arbitration, but the current User Agreement already imposes this requirement:

        Current User Agreement § 8.36                       Updated User Agreement § 1.17
 If we cannot resolve the dispute through the        [A]ny dispute, claim, disagreements arising
 Formal Complaint Process, you and we agree          out of or relating in any way to your access
 that any dispute arising out of or relating to      to or use of the Services or of the Coinbase
 this Agreement or the Coinbase Services,            Site, any Communications you receive, any
 including, without limitation, federal and state    products sold or distributed through the
 statutory claims, common law claims, and            Coinbase Site, the Services, or the User
 those based in contract, tort, fraud,               Agreement and prior versions of the User
 misrepresentation, or any other legal theory,       Agreement, including claims and disputes
 shall be resolved through binding                   that arose between us before the effective date
 arbitration, on an individual basis (the            of these Terms …will be resolved by
 “Arbitration Agreement”).                           binding arbitration …. For purposes of this
                                                     Arbitration Agreement, ‘Dispute’ will also
                                                     include disputes that arose or involve facts
                                                     occurring before the existence of this or any
                                                     prior versions of the User Agreement ….


    6
        (Black Ex. A at § 8.3.)
    7
        (Black Ex. D, App’x 5 § 1.1.)

                                                    16
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          Second, Plaintiffs seek to enjoin Section 1.7, which they contend would impose potential

fees on Plaintiffs in this litigation. But, again, this was already the case.

           Current User Agreement § 8.38                     Updated User Agreement § 1.79
    “To the extent permitted by law, the              The parties shall bear their own attorneys’
    prevailing party in any action or                 fees and costs in arbitration unless the
    proceeding to enforce this Agreement, any         arbitrator finds that either the substance of the
    arbitration pursuant to this Agreement, or any    Dispute or the relief sought in the Request
    small claims action shall be entitled to costs    was frivolous or was brought for an improper
    and attorneys’ fees.”                             purpose (as measured by the standards set
                                                      forth in Federal Rule of Civil Procedure
                                                      11(b)). If you or Coinbase need to invoke
                                                      the authority of a court of competent
                                                      jurisdiction to compel arbitration, then the
                                                      party that obtains an order compelling
                                                      arbitration in such action shall have the
                                                      right to collect from the other party its
                                                      reasonable costs, necessary disbursements,
                                                      and reasonable attorneys’ fees incurred in
                                                      securing an order compelling arbitration.
                                                      The prevailing party in any court action
                                                      relating to whether either party has satisfied
                                                      any condition precedent to arbitration,
                                                      including the Formal Complaint Process, is
                                                      entitled to recover their reasonable costs,
                                                      necessary disbursements, and reasonable
                                                      attorneys’ fees and costs.


Notably, Global’s counsel expressly and specifically pointed to this portion of the current User

Agreement before this Motion was filed and reminded Lead Counsel of the obligation to have

discussed these potential litigation costs with its clients before filing this matter in court, rather

than in arbitration. (Flath Ex. B.) If Lead Counsel failed to properly advise their own clients on the

inherent risks of bringing this Action, they should not be allowed to correct that error through this

Motion.


8
      (Black Ex A at § 8.3.)
9
      (Black Ex. D, App’x 5 § 1.7.)

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       Plaintiffs also argue that the updated terms “requir[e] disputes that are heard in court to be

resolved in California, which would prevent the litigation of this matter before this Court.” (Mot.

at 8.) Even setting aside that venue in this Court is measured at the time an action was commenced,

not based on subsequent developments, see Keitt v. New York City, 882 F. Supp. 2d 412, 459 n. 44

(S.D.N.Y. 2011) (“Venue is determined based upon the parties and allegations at the time the

operative complaint is filed, not subsequent events”), Global does not intend to transfer the Action

to California.

       Finally, Plaintiffs contend that the arbitration provision in the updated User Agreement

“vastly increases the scope of the present arbitration clause” because they claim that Global could

seek to enforce it retroactively. (Mot. at 2-3.) Plaintiffs ignore that the updated User Agreement

says the opposite. The updated User Agreement states that “[f]or all users who sign up prior to

January 31, 2022, the previous version of the User Agreement shall apply until you accept our

updated terms of service which will govern from January 31, 2022” and generally that amendments

“shall be effective as of the time it is posted but will not apply retroactively.” (Black Ex. D at 1.)

In other words, the updated User Agreement applies prospectively—not retrospectively as

Plaintiffs assert. See Wu, 2011 WL 2314778, at *7 (negotiating licensing agreements with putative

class members did not violate Rule 23 where licenses were on “a going-forward basis.”). And in

any event, by its plain language that provision does not apply “retroactively” to claims properly

filed already.

       All of Plaintiffs’ complaints about the updated User Agreement are demonstrably false.

The current User Agreement already contains a binding arbitration clause and a fee-shifting clause,

and the updated User Agreement applies prospectively.

       Worse for Plaintiffs, even if their complaints were about truly new dispute resolution terms,



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Coinbase is entirely within its rights to update its User Agreement even during pending litigation

on a going forward basis. See id. (negotiating licensing agreements with putative class members

did not violate Rule 23 where licenses were on “a going-forward basis.”); Haider, 2021 WL

3475621 at *3. Although the Court does not have to address that issue to resolve this Motion,

Courts have already rejected Plaintiffs’ arguments as applied to actual changes to customer terms.

Judge Nathan expressly distinguished cases on which Plaintiffs rely, including Agilant and Uber

where “defendants who had no arbitration agreement with class members introduced arbitration

agreements specifically targeted at the pending litigation” and sought to enforce those terms.

Haider, 2021 WL 3475621 at *3 (emphasis added). But given that nothing has changed for

Plaintiffs or putative class members here, Plaintiffs’ reliance on Agilant and Currency Conversion

is misplaced. In Agilant, the defendant in a class action brought on behalf of its employees rolled

out a new policy requiring its employees to sign an arbitration agreement. The court found the

defendants efforts to obtain signatures on the arbitration agreements were coercive because they

failed to disclose that the agreement would effectively have forfeited their rights to participate in

the case. Here, putative class members are already subject to the arbitration clause and fee-shifting

provision of the current User Agreement, so the new agreement did not “threaten the ‘choice of

remedies’ available to putative plaintiffs.” 444 F. Supp. 3d at 601. Similarly, in Currency

Conversion, defendants sought to eliminate purported class members’ rights by introducing a new

arbitration clause during the pendency of the litigation. That has not happened here.10



10
     Plaintiffs’ argument concerning whether fee-shifting generally is appropriate under
     California law is neither new nor an emergency because, as explained above, the provision
     itself has not altered the rights or risks of the parties in this litigation. While Plaintiffs argue
     that the updated User Agreement is unconscionable and a contract of adhesion (Mot. at 8-9),
     there is no need for the Court that issue. But Courts in the Ninth Circuit have regularly
     upheld amendments to User Agreements like Coinbase’s that allow a service provider to
     modify or update terms of service. See, e.g., Heller v. Rasier, LLC, No.
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         Customers will only be harmed if companies cannot provide them with routine information

any time a frivolous class action is pending.


IV.      THE BALANCE OF EQUITIES FAVORS COINBASE

         “A preliminary injunction may not issue unless the movant clearly shows that the balance

of equities favors the movant.” Litwin, 865 F. Supp. 2d at 401. Any purported harm to Plaintiffs

or the putative class flowing from implementation of the amended User Agreement is illusory,

easily remedied or avoided without an injunction, and speculative at best. In contrast, Coinbase

will suffer substantial harm if the injunction is granted. The injunction Plaintiffs seek would be

highly intrusive into Coinbase’s business, as exemplified by Plaintiffs’ request for an order

requiring Coinbase to clear with Lead Counsel any further changes to the dispute resolution

provision that could apply to this Action, unrestricted to the specific terms that Plaintiffs identify

in the Motion and conceivably relating to any future change that Coinbase may wish to make for

years given that Plaintiffs’ allegations in the Action encompass over 70 digital assets and includes

within the class, future users who do not even yet exist. Also as explained above, as a matter of

law Lead Counsel does not represent any absent class members and will not until a class is

certified. Plaintiffs have yet to file their amended complaint, the merits of their claims have yet to

be tested, and they have not sought, let alone obtained class certification, or even proposed a

schedule for doing so.



      CV178545PSGGJSX, 2020 WL 413243, at *11 (C.D. Cal. Jan. 7, 2020) (updated Uber
      Terms of Service (which included updated arbitration provision) was valid and binding
      where Uber emailed users updated terms, expressly stated in the email that Uber had revised
      the arbitration agreement, and stated that the continued use of the Uber App would serve as
      consent to the updated terms); In re Facebook Biometric Info. Priv. Litig., 185 F. Supp. 3d
      1155, 1167-68 (N.D. Cal. 2016), (enforcing updated user agreement where users “were
      provided notice that the terms of the user agreement were changing through an email from
      Facebook sent directly to the email addresses each plaintiff had on file with Facebook”).

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       An injunction would also interfere enormously with Coinbase’s ability to update its User

Agreement in the ordinary course and impose substantial harm on Coinbase. Plaintiffs’ putative

class action claims feature a poorly defined class with an unbounded Class Period that would

sweep in even future Coinbase users, who have yet to agree to any version of the user agreement,

and who join the platform up through the time of class certification, which could be years from

now. (See ECF 1 ¶ 253 (defining Class Period as being “from the beginning of any applicable

limitations period through the date of certification”).) Plaintiffs’ proposed injunction “would

essentially freeze [Coinbase’s] contracts in place” and prevent Coinbase from updates that are

material to its operations or its customers. See Haider, 2021 WL 3475621 at *3. Even pressing

pause imposes substantial harm to Coinbase and its millions of users, both current and future.

Considering the lack of any harm whatsoever to Plaintiffs, and the real and substantial harm to

Coinbase, the balance of equities tips decidedly in favor of denying any injunctive relief. See

Litwin, 865 F. Supp. 2d at 401-02.


V.     A TEMPORARY RESTRAINING ORDER IS NOT IN THE PUBLIC INTEREST

       Finally, granting an injunction in this scenario would not be in the public interest. If

Plaintiffs’ argument carries the day, that will open the door to every putative class plaintiff subject

to a defendant’s terms of use to place a stranglehold over that defendant’s ability to conduct its

business. Not only would such a result be harmful to businesses, but it would encourage the worst

kind of legal gamesmanship. See Victorinox AG v. B & F Sys., Inc., No. 13-CV-04534 (JSR), 2015

WL 9256944 at *7 (S.D.N.Y. Dec. 15, 2015) (“The public pays a price when litigants use up the

courts’ time[] with gamesmanship and repetition, and it is ultimately in the public interest for

litigation to move forward.”) aff’d, 709 F. App’x 44 (2d Cir. 2017). Every issue that Plaintiffs want




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to be heard still has a time and place to be heard. Emergency motions should only be granted when

there is an actual emergency.


                                        CONCLUSION

       Plaintiffs seek an unprecedented remedy despite the complete absence of any issue ripe for

the Court’s attention, let alone an emergency. Plaintiffs seek a remedy on behalf of Coinbase

customers they do not represent and against Coinbase Global, which is not even a party to the User

Agreement at issue. Even if any relief were appropriate, it could not reach anyone but the named

plaintiffs nor be imposed against Coinbase Global as a non-party to the User Agreement.

Thankfully, the Court does not need to address these issues. For all the reasons set forth here,

Plaintiffs cannot demonstrate any of the requisite elements for a temporary injunction, and their

request should be DENIED.

January 30, 2022                                    Respectfully submitted,


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